                     Case 1:04-cr-01677-JB                    Document 404             Filed 02/05/13             Page 1 of 6
AO 245D (Rev 12/10) Judgment in a Criminal Case for Revocations Sheet 1

                                            UNITED STATES DISTRICT COURT
                                                                District of New Mexico

                   UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                              V.                                            (For Revocation of Probation or Supervised Release)

                       Donovan Jones Neha
                                                                            Case Number: 1:04CR1677-002JB
                                                                            USM Number: 18124-051
                                                                            Defense Attorney: Jason Bowles, Appointed
THE DEFENDANT:

c    admitted guilt to violations of condition(s) Special, SC of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation           Nature of Violation                                                                  Violation Ended
Number
1                   Special - The defendant failed to refrain from the use and possession of             11/25/2012
                    alcohol and other forms of intoxicants.

The defendant is sentenced as provided in pages 1 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has not violated condition(s)           and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

8213                                                                        January 22, 2013
Last Four Digits of Defendant's Soc. Sec. No.                                Date of Imposition of Judgment

1981                                                                         /s/ James O. Browning
Defendant's Year of Birth                                                    Signature of Judge


                                                                             Honorable James O. Browning
Albuquerque, NM                                                              United States District Judge
City and State of Defendant's Residence                                      Name and Title of Judge



                                                                             February 5, 2013
                                                                             Date Signed
                     Case 1:04-cr-01677-JB                     Document 404      Filed 02/05/13         Page 2 of 6
AO 245D (Rev. 12/10) Sheet 1 Judgment in a Criminal Case for Revocations Sheet                                        Judgment Page 2 of 6
1A


Defendant: Donovan Jones Neha
Case Number: 1:04CR1677-002JB


                                                        ADDITIONAL VIOLATIONS

Violation           Nature of Violation                                                           Violation Ended
Number
2                   SC - The defendant left the judicial district without the permission of the   11/26/2012
                    court or probation officer.
                     Case 1:04-cr-01677-JB                    Document 404   Filed 02/05/13        Page 3 of 6
AO 245D (Rev. 12/10) Judgment in a Criminal Case for Revocations
Sheet 2 Imprisonment                                                                                                 Judgment Page 3 of 6


Defendant: Donovan Jones Neha
Case Number: 1:04CR1677-002JB


                                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 5 days or
time served, whichever is less .

Defendant Donovan Neha pled guilty to a Grade C violation of his supervised release pursuant to the police statement in the
United States Sentencing Guidelines` Section 7B1.1(a)(1)(2)(3). Neha was arrested for Driving Under Intoxication on November
24, 2012, in violation of the terms of his supervised release. Neha`s criminal history is category II, which is the criminal history
category at the time of his original sentence. A grade C violation and a criminal history of II establishes a revocation imprisonment
range under the guidelines of 4 to 10 months.

The Court believes that a sentence of 5 days with twenty-four months of supervised release, and requiring Neha, as a condition
of supervised release, to successfully complete the La Posada Halfway House program, in Albuquerque, New Mexico, for a period
of three months, requiring Neha to pay $125 weekly -- the weekly self-pay rate -- while residing there, adequately reflects the
seriousness of the crime that Neha committed, will promote respect for the law, provide just punishment, and afford adequate
deterrence. While the sentence varies from the suggested range under the Sentencing Guidelines, it is a more reasonable sentence
and more faithfully promotes the sentencing goals Congress laid down in 18 U.S.C. § 3553(a).

The Court has carefully considered the parties` arguments in this case and Neha`s circumstances. Neha was released from federal
custody in February, 2012. In September, 2012, Neha moved to Albuquerque, where he was gainfully employed at Northern
Electric until his arrest on November 24, 2012. Neha was released to La Posada`s custody on December 3, 2012, and since that
time has been working steadily and paying La Posada weekly rent of $125. Neha has struggled with alcohol addiction throughout
his life, has been through counseling, and appears to be having substantial success participating in AA meetings and A New
Awakening counseling as part of his current living arrangement in the program at La Posada. Additionally, Neha has been
participating in sex offender counseling at Relevancy Inc. as part of the La Posada program, and the parties represent that he
needs more time with his therapist at Relevancy Inc. to make progress in his treatment. The Court notes that an important goal
of the criminal justice system and 18 U.S.C. § 3553(a) is rehabilitation. The Court thus believes that Neha`s current living
arrangement at La Posada is helping rehabilitate him in a positive way that incarceration would not.

Revoking Neha`s supervised released and imposing a sentence within the guidelines range would be excessive, and would contravene
Congress` command that courts impose sentences that are sufficient but not greater than is necessary to comply with the purposes
of punishment set forth in the Sentencing Reform Act of 1984, Pub. L. No. 98-473, 98 Stat. 1987 (codified as amended in scattered
sections of 18 U.S.C.). The Court recognizes the seriousness of the offense Neha committed, but believes that the 5-day or time
served sentence it imposes, and requiring Neha to successfully complete the La Posada program for a period of three months and
remain under supervised release for two years should provide adequate deterrence to Neha. Because Neha will be under a level
of supervision and undergoing substantial therapy and counseling at La Posada, his sentence adequately protects the public. It
appears that, as long as he is in Albuquerque, working, and under structured supervision, he does well; he is trying to better
himself and is productive in society. His rehabilitation at La Posada will thus not only protect the public, but help him to be a
contributing member of the public. The variance avoids unwarranted sentencing disparities among defendants with similar
records who have been found guilty of similar conduct. The sentence that the Court imposes varies from the guidelines, but in
these circumstances, the sentence imposed more effectively promotes the goals outlined in 18 U.S.C. § 3553(a). The Court believes
that this sentence fully and effectively reflects each of the factors embodied in 18 U.S.C. § 3553(a). Moreover, a longer sentence
would be unnecessarily punitive and would not serve any useful purpose. While the Court`s task as a trial court is not to come
up with a reasonable sentence, but to balance the 18 U.S.C. § 3553(a) factors correctly, see United States v. Conlan, 500 F.3d 1167,
1169 (10th Cir.2007)("[A] district court`s job is not to impose a reasonable sentence. Rather, a district court`s mandate is to
impose a sentence sufficient, but not greater than necessary, to comply with the purposes of section 3553(a)(2).") (citation omitted),
the Court believes that this sentence is a more reasonable sentence than the guideline sentence. And perhaps most important in
this calculation, the Court believes that this sentence is sufficient, but not greater than necessary, to comply with the purposes of
punishment set forth in the Sentencing Reform Act of 1984. The Court thus sentences Neha to 5 days, or time served, imprisonment
with two years of supervised release, and compliance with the Court`s special condition of successful completion of the La Posada
program for three months.
                  Case 1:04-cr-01677-JB              Document 404             Filed 02/05/13         Page 4 of 6
d     The court makes these recommendations to the Bureau of Prisons:




c     The defendant is remanded to the custody of the United States Marshal.
d     The defendant shall surrender to the United States Marshal for this district:
      d    at on
      d    as notified by the United States Marshal.
d     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      d    before 2 p.m. on
      d    as notified by the United States Marshal
      d    as notified by the Probation or Pretrial Services Office.


                                                             RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a certified copy of this judgment.




                                                                    UNITED STATES MARSHAL



                                                                   By
                                                                    DEPUTY UNITED STATES MARSHAL
                     Case 1:04-cr-01677-JB                    Document 404               Filed 02/05/13            Page 5 of 6
AO 245D (Rev. 12/10) Judgment in a Criminal Case for Revocations
Sheet 3 Supervised Release                                                                                                              Judgment Page 5 of 6
Defendant: Donovan Jones Neha
Case Number: 1:04CR1677-002JB
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 24 months .

All of the special conditions previously imposed remain in effect.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution, it is to be a condition of supervised release that the defendant pay in accordance with Criminal Monetary
Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                   STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
                     Case 1:04-cr-01677-JB                    Document 404   Filed 02/05/13   Page 6 of 6
AO 245D (Rev. 12/10) Judgment in a Criminal Case for Revocations                                            Judgment Page 6 of 6
Sheet 3C Supervised Release


Defendant: Donovan Jones Neha
Case Number: 1:04CR1677-002JB


                                            SPECIAL CONDITIONS OF SUPERVISION

The Defendant will successfully complete the La Posada Halfway House program for a period of 3 months
and the Defendant will be required to pay the $125.00 weekly self pay rate while a resident at La Posada.
